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19                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
20
     JAMES PARSONS, individually and as
21   Special Administrator of the Estate of Carolyn
     Lee Parsons, and ANN-MARIE PARSONS,
22                                                    Case No.
                              Plaintiffs,
23
     v.
24
     COLT’S MANUFACTURING COMPANY                      DEFENDANT FN AMERICA’S NOTICE
25   LLC, et. al.,                                             OF REMOVAL
26                   Defendants,

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28
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 1          Defendant FN America (“FN America” or “Moving Defendant”), by counsel, pursuant to

 2   28 U.S.C. §§ 1332, 1441, 1446, and Local Civil Rules IA 10-1 and 10-2, hereby gives notice of

 3   the removal of this action from the District Court for Clark County, Nevada, to the United States

 4   District Court for the District of Nevada. In support of removal, FN America provides the

 5   following required “short and plain statement of the grounds for removal.” 28 U.S.C. § 1446(a);

 6   see also, Dart Cherokee Basin Operating Co., LLC v. Owens¸ 135 S. Ct. 547, 553 (2014) (“By

 7   design, § 1446(a) tracks the general pleading requirement stated in Rule 8(a) of the Federal Rules

 8   of Civil Procedure.”).

 9                                   INTRODUCTION AND BACKGROUND
10          1.      This matter is being removed because there is complete diversity between the
11   Plaintiffs and all of the named defendants in this action, thereby affording this Court with original
12   jurisdiction pursuant to 28 U.S.C. §§ 1332(a).
13          2.      On or about July 2, 2019, Plaintiffs James Parsons, individually and as Special
14   Administrator of the Estate of Carolyn Lee Parsons, and Ann-Marie Parsons (“Plaintiffs”) filed a
15   complaint (the “Complaint”) seeking damages from, inter alia, FN America in the District Court
16   for Clark County, Nevada (the “State Court Action”) (State Court Action No. A-19-797891-C). A
17   true and accurate copy of the Complaint filed by Plaintiffs in the State Court Action is attached
18   here as Exhibit A.
19          3.      On or about July 2, 2019, Plaintiffs also filed an Initial Appearance Fee Disclosure
20   (NRS Chapter 19) along with their Complaint. A true and correct copy of the Initial Appearance
21   Fee Disclosure filed by Plaintiffs in the State Court Action is attached here as Exhibit B.
22          4.      The online docket in the State Court Action indicates that summonses have been
23   electronically issued for the named defendants, but there is no indication that Plaintiffs have
24   properly served any of the named defendants in the State Court Action. Neither have any of the
25   named defendants made a voluntary appearance. A true and accurate copy of the online docket for
26   the State Court Action is attached here as Exhibit C.
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 1                                     DIVERSITY JURISDICTION EXISTS

 2          5.      This action qualifies for removal to this Court because complete diversity exists

 3   between Plaintiffs and the named defendants and the amount in controversy will exceed the sum

 4   of $75,000.00, exclusive of punitive damages, costs and attorneys’ fees, as required for original

 5   jurisdiction under 28 U.S.C. § 1332(a).

 6          6.      Plaintiffs allege that they are both domiciled in the State of Washington, not in the

 7   State of Nevada. (Ex. A, Compl. ¶¶ 19–20.)

 8          7.      FN America is not domiciled in the State of Washington.

 9          8.      Based upon the factual allegations contained in the Complaint filed in the State

10   Court Action, none of the other named defendants are domiciled in the State of Washington either.

11   As such, complete diversity exists in this action. See, Owen Equip. & Erection Co. v. Kroger, 437

12   U.S. 365, 373, 98 S. Ct. 2396, 2402, 57 L. Ed. 2d 274 (1978) (“[D]iversity jurisdiction does not

13   exist unless each defendant is a citizen of a different State from each plaintiff.”).

14          9.      The amount in controversy in this case exceeds the jurisdictional requirements for

15   subject matter jurisdiction pursuant to 28 U.S.C. § 1332. The Complaint expressly identifies

16   damages “in excess of $15,000.00,” but due to the claims arising from the alleged wrongful death

17   and loss of companionship of the Plaintiffs’ daughter, Carolyn Lee Parsons, the damages pursued

18   will easily eclipse the jurisdictional minimum. See, e.g., Kammerdiener v. Ford Motor Co., Case

19   No. 5:09-cv-02180-PSG-VBK, 2010 WL 682297, at *2 (C.D. Cal. Feb. 24, 2010) (finding the

20   amount in controversy facially apparent in wrongful death actions).

21                            THE LOCAL DEFENDANT RULE DOES NOT APPLY

22          10.     In addition to claims against firearm manufacturers, Plaintiffs have pursued

23   additional claims against local firearm retailers, such as defendant Discount Firearms & Ammo,

24   LLC, which is a Nevada limited liability company. (See Ex. A, Compl. ¶ 30.)

25          11.     Under 28 U.S.C. § 1441(b)(2), a “civil action otherwise removable solely on the

26   basis of the jurisdiction under section 1332(a) of this title [(the diversity statute)] may not be

27   removed if any of the parties in interest properly joined and served as defendants is a citizen of the

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 1   State in which such action is brought.” Id. (emphasis added). This statutory rule is commonly

 2   referred to as the “Local Defendant Rule.”

 3          12.     Based on FN America’s analysis of the state-court docket, none of the forum

 4   defendants, including Discount Firearms & Ammo, LLC, have been properly served with a

 5   summons and a copy of the Complaint. In fact, Plaintiffs have not served any of the named

 6   defendants in the State Court Action.

 7          13.     Because there is a complete lack of service, there are no properly joined “and

 8   served” forum defendants that might defeat removal on diversity grounds under § 1441(b)(2), i.e.,

 9   the Local Defendant Rule. See, e.g., Lamy v. United Parcel Serv., Inc., Case No. 2:09-cv-01890-

10   LRH-RJJ, 2010 WL 1257931, at *2 (D. Nev. Mar. 27, 2010) (only considering the domicile of the

11   parties joined and served at the time of removal).

12          14.     The language of the Local Defendant Rule is unequivocal: it applies only to

13   defendants which are “properly joined and served.” See, 28 U.S.C. § 1441(b)(2); see also, Davis v.

14   Hoffman-LaRoche, Inc., Case No. 13-5051 JSC, 2014 WL 12647769, at *2 (N.D. Cal. Jan. 14,

15   2014), report and recommendations adopted, 2014 WL 12647768 (N.D. Cal. Jan. 31, 2014)

16   (holding “that the language of Section 1441(b)(2) is clear: the local-defendant rule applies only to

17   those defendants which have been properly joined and served” (emphasis in original)).

18          15.     Removal of the state-court action is therefore proper because no “part[y] in interest

19   properly joined and served as [a] defendant[] is a citizen of [Nevada].” 28 U.S.C. § 1441(b)(2)

20   (emphasis added); see also, Regal Stone Ltd. v. Longs Drug Stores California L.L.C., 881

21   F.Supp.2d 1123, 1127-28 (N.D. Cal. 2012).

22                              FEDERAL QUESTION JURISDICTION EXISTS

23          16.     Alternatively, this Court has jurisdiction pursuant to 28 U.S.C. § 1331 because of

24   federal questions arising from Plaintiffs’ pursuit of wrongful death damages from several

25   manufacturers of firearms that will necessarily require the interpretation and application of federal

26   law, including but not limited to, the National Firearms Act (the “NFA”) (26 U.S.C. § 5801, et

27   seq.) and the Protection of Lawful Commerce in Arms Act (15 U.S.C. § 7903, et seq.).

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 1          17.     Generally, the “well-pleaded complaint rule” governs whether a complaint raises a

 2   federal question or arises under federal law. Under the well-pleaded complaint rule, “federal

 3   jurisdiction exists only when a federal question is presented on the face of the plaintiff's properly

 4   pleaded complaint.” Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987). But a case involving

 5   only state-law claims can give rise to federal-question jurisdiction “if a well-pleaded complaint

 6   established that its right to relief under state law requires resolution of a substantial question of

 7   federal law.” City of Chicago v. Int'l Coll. of Surgeons, 522 U.S. 156, 164 (1997); Franchise Tax

 8   Bd. of Cal. v. Construction Laborers Vacation Trust for Southern Cal., 463 U.S. 1, 13

 9   (1983) (case arises under federal law when “federal law creates the cause of action or ... the

10   plaintiff's right to relief necessarily depends on resolution of a substantial question of federal law”).

11          18.     Here, Plaintiffs’ causes of action against certain firearm manufacturers are all based

12   upon an alleged failure to comply with federal firearm standards because the AR-15 rifles used in

13   this tragic event were modified by the gunman to allow for automatic rates of fire. (See Compl. ¶¶

14   8–18.) Specifically, Plaintiffs expressly allege that the firearm manufacturing defendants designed

15   their rifles in violation of 18 U.S.C. 922(b)(4). (Id. ¶¶ 172, 192, 196, 198, 204–06.)

16          19.     Because Plaintiffs base their claims, in part, on alleged noncompliance with federal

17   regulations and violation of federal law, adjudication of the Plaintiffs’ claims will require

18   resolution of substantial federal questions such that the lawsuit originally could have been filed in

19   federal court. 28 U.S.C. § 1441(a); see also, Grable & Sons Metal Prod., Inc. v. Darue Eng'g &

20   Mfg., 545 U.S. 308, 312 (2005) (“[I]n certain cases federal-question jurisdiction will lie over state-

21   law claims that implicate significant federal issues.”).

22                                  REMOVAL IS PROCEDURALLY PROPER

23          20.     A defendant must file a notice of removal within thirty days after receiving service

24   of process. See, 28 U.S.C. 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S.

25   344, 356 (1999). The Moving Defendant has not been served, so the thirty-day clock has not even

26   begun to run. As such, notice is timely.

27          21.     In accordance with 28 U.S.C. 1441(a), venue is proper in this Court because the

28   United States District Court for the District of Nevada is the federal judicial district embracing the
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 1   District Court of Clark County, Nevada, where the Plaintiffs originally filed the State Court

 2   Action.

 3             22.    All defendants properly served must consent to removal. See, 28 U.S.C. §

 4   1446(b)(2)(A) (“When a civil action is removed solely under section 1441(a), all defendants who

 5   have been properly joined and served must join in or consent to the removal of the action”)

 6   (emphasis added). Here again, no defendants have been served, so no consent is required to

 7   supplement FN America’s Notice of Removal.

 8             23.    Simultaneously with the filing of this Notice, in accordance with 28 U.S.C. §

 9   1446(d), FN America will serve a copy of this Notice upon the Plaintiffs and will file a copy of the

10   Notice with the Clerk for the District Court of Clark County, Nevada.

11             24.    FN America has provided the required “short and plain statement of the grounds for

12   removal,” see 28 U.S.C. § 1446(a), and the Moving Defendant has satisfied all other requirements

13   necessary to remove this action to federal court.

14             25.    Nothing in this Notice of Removal should be interpreted as a waiver or

15   relinquishment of FN America’s right to assert any and all defenses or objections to the Complaint,

16   including lack of personal jurisdiction. If there are any questions that arise as to the propriety of

17   removal of this action, FN America respectfully requests the opportunity to submit briefing,

18   argument, and additional evidence as necessary to support removal.

19             WHEREFORE, the Moving Defendant FN America removes this action to this Court for

20   further proceedings according to law.

21             Dated this 9th day of July, 2019.

22                                                        SPENCER FANE LLP

23
                                                          /s/ Jessica E. Chong
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25                                                        Mary E. Bacon (NV Bar No. 12686)
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                                                          and
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10                                           Counsel for FN America
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 1                                         CERTIFICATE OF SERVICE

 2          I certify that a true and correct copy of the foregoing Notice of Removal was served on the
 3
     following on July 9, 2019 via first class U.S. Mail:
 4
                    Matthew L. Sharp, Esq. (Nev. #4746)
 5                  MATTHEW L SHARP, LTD.
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 7

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12                  Katherine L. Mesner-Hage, Esq. (Applying Pro Hac Vice)
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13                  350 Fairfield Avenue
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14                  (203) 336-4421
15
                                                   /S/ ADAM MILLER
16                                                 AN EMPLOYEE OF SPENCER FANE LLP

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